                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                      CRIMINAL DOCKET NO. 3:05cr104-V


UNITED STATES OF AM ERICA                )
                                         )
             vs.                         )
                                         )
GABRIEL ROM ERO - 1                      )
JULIO M ORA VEGA - 2                     )
M ICHAEL BRIAN M CCALL - 3               )
AM OS CALVIN HALL, JR. - 4               )
KOJI S. STEW ART - 5                     )
TANRE STEPHON TAYLOR - 6                 )
ULYSSESS W ASHINGTON - 7                 )
KELVIN BEAUFORT - 8                      )
NELTA NEAL GLENN - 9                     )
ALLEN M ARSHELL M CCALL, JR. - 10        )                  ORDER
M ALCOLM DAW SON - 11                    )
HAJI DW ANE W HITE - 12                  )
DEM ON M ONTICO M ORRIS - 13             )
SONKARLAY LORENZO M CCALL - 15           )
HOW ARD EDW ARD M CCALL - 16             )
GERALD DIXON - 17                        )
RODGRICK FRIESON - 18                    )
FRANK W OOD THOM AS - 19                 )
GRADY DONNELL EADES - 20                 )
GERALD HARRISON - 21                     )
PHILLIP BROW N - 23                      )
AUDREY GABRIEL - 25                      )
___________________________________      )


      THIS MATTER is before the Court on its own motion to continue the captioned
criminal matter from the 25 July 2005 term in the Charlotte Division.
      The Court finds that the Defendants' cases are "joined for trial with a co-defendant
as to whom the time for trial has not run and no motion for severance has been granted,"
18 U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a

miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends
of justice served by taking such action outweigh the best interest of the public and the
Defendants to a speedy trial.
      IT IS, THEREFORE, ORDERED that this case is hereby continued from the 25 July
2005 term in the Charlotte Division to the 26 September 2005 trial term.




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                        Signed: July 11, 2005




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